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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

HOUSING OPPORTUNITIES MADE _)
EQUAL OF VIRGINIA, INC., )
)
Plaintiff, )
)

Vv. ) Civil Action No. 3:24-cv-212—-HEH
)
SYLVAN HOMES, LLC, et al., )
)
Defendants. )

ORDER
(Granting Consent Motion to Amend Scheduling Order and Extend Discovery
Deadlines)

THIS MATTER is before the Court on Defendants Sylvan Homes, LLC and
Diversified Residential Homes 4, LLC’s (collectively, “Defendants”) Consent Motion to
Amend the Scheduling Order and Extend the Discovery Deadlines (the “Motion,” ECF
No. 36). Defendants request extensions of several pre-trial deadlines to ensure sufficient
time to meet them and continue diligently facilitating settlement resolution. (Jd. at 2.)
Plaintiff consents to such extensions. (/d. at 3.) Upon due consideration, the Motion is
GRANTED. The Pretrial Schedule is amended as follows:

(1) Defendants’ Expert Disclosures shall be served on or before February 14,

2025; and

(2) Rebuttal Expert Disclosures shall be served on or before February 28, 2025;

All remaining deadlines stated in the Pretrial Schedule (ECF No. 16-1) and as Amended

(ECF No. 33) shall remain unchanged.
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The Clerk is DIRECTED to send a copy of this Order to counsel of record.

It is so ORDERED.

Meh _

Henry E. Hudson
Senior United States District Judge

_—
Date: Febevery 3,202
Richmond, Virginia
